Case 19-00685-dd          Doc 15    Filed 03/29/19 Entered 03/29/19 10:16:06    Desc Main
                                    Document      Page 1 of 4


                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF SOUTH CAROLINA

IN RE:                                        )
                                              )
Kellie Barnes Jett,                           )     Bankruptcy Case No.: 19-00685-dd
                                              )     Chapter 7
                                              )
                Debtor.                       )

                  OBJECTION TO MOTION TO MODIFY THE AUTOMATIC STAY


TO: Magalie A Creech of Finkel Law Firm LLC on behalf of Nationstar Mortgage LLC
d/b/a Mr. Cooper,

         Kevin Campbell, the duly appointed and acting Chapter 7 Trustee for the above

Debtor, (hereinafter referred to as the "Trustee"), by and through his undersigned attorney,

hereby objects to the Motion filed by Magalie A Creech of Finkel Law Firm LLC on behalf of

Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) seeking to modify the automatic

stay pursuant to 11 U.S.C. §362 and would respectfully show unto this Court as follows:

   1. As indicated in the Motion, the Debtor filed for Chapter 7 bankruptcy relief on

         02/04/2019. The Meeting of Creditors was held on 03/20/2019.

   2. The Trustee is in the process of evaluating the collateral to determine whether or

         not there exists potential to liquidate the collateral through a short sale for the

         benefit of the estate and its creditors.

   3. The Trustee is trying to investigate this situation as quickly as possible. Denial of

         this Motion may be appropriate based upon the potential benefit to the Movant. If

         the Trustee determines that in fact there is no potential for a short sale of the

         property, the Trustee would agree to withdraw the objection.
Case 19-00685-dd      Doc 15    Filed 03/29/19 Entered 03/29/19 10:16:06        Desc Main
                                Document      Page 2 of 4


       WHEREFORE, the Trustee prays that this Court deny the Motion and for such other

and further relief requested herein and which this Court deems just and equitable.

                                                 Respectfully submitted,

                                                 CAMPBELL LAW FIRM, P.A.

                                                  /s/ Suzanne Campbell Chisholm
                                                 SUZANNE CAMPBELL CHISHOLM
                                                 Post Office Box 684
                                                 Mt. Pleasant, S.C. 29465
Mt. Pleasant, South Carolina                     (843) 884-6874/884-0997(fax)
Dated: March 29, 2019                            District Court I.D. No. 10274
                                                 Scampbell@campbell-law-firm.com
Case 19-00685-dd          Doc 15    Filed 03/29/19 Entered 03/29/19 10:16:06            Desc Main
                                    Document      Page 3 of 4


                               UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF SOUTH CAROLINA

IN RE:                                         )
                                               )
Kellie Barnes Jett,                            )        Bankruptcy Case No.: 19-00685-dd
                                               )        Chapter 7
                                               )
                Debtor.                        )

                                     CERTIFICATION OF FACTS

       In the above-entitled proceeding, in which relief is sought from the automatic stay in
accordance with 11 U.S.C. §362, I do hereby certify to the best of my knowledge the following:

1.   Nature of Movant's Interest: See Movant’s Certification of Facts.

2.   Brief Description of Security Agreement: See Movant’s Certification of Facts.

3.   Description of Property Encumbered by Stay: 453 Foxbank Plantation Blvd, Moncks Corner,
     South Carolina 29461

4.   Basis for Relief: NONE.

5.   Prior Adjudication by Other Courts: NONE.

6.   Valuation of Property: List the value place upon the collateral by the party filing this
     certification. Include the source of each value. If an appraisal, i.e. tax appraisal, Blue Book,
     formal appraisal, include the following information regarding each appraisal: the date and type
     of appraisal, the appraised value and the name and address of the appraiser.)

         Fair Market Value                      $ TBD
         Liens (Mortgages)(-)                   $ TBD
         Equity Before Exemption                $ TBD
         Debtor's Exemption(-)                  $0
         Net Equity                             $ TBD

         Source/Basis of Value: Trustee’s liquidator

7.   Amount of debtor's estimated equity (using figures from paragraph 6, supra): TBD

                                                        CAMPBELL LAW FIRM, P.A.
                                                        /s/ Suzanne Campbell Chisholm
                                                        SUZANNE CAMPBELL CHISHOLM
                                                        Post Office Box 684
                                                        Mt. Pleasant, SC 29465
Mt. Pleasant, South Carolina                            (843) 884-6874/884-0997(fax)
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                                    Document      Page 4 of 4



                                UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA

IN RE:                                         )
                                               )
Kellie Barnes Jett,                            )       Bankruptcy Case No.: 19-00685-dd
                                               )       Chapter 7
                                               )
                Debtor.                        )

                                     CERTIFICATE OF MAILING


         I, Suzanne Chisholm, Campbell Law Firm, P.A. hereby certify that I have this day mailed a

true and correct copy of the following:

                OBJECTION TO MOTION FOR RELIEF FROM AUTOMATIC STAY and
                                CERTIFICATION OF FACTS

by mailing said copies by United States mail, with proper postage affixed thereto and addressed as

follows:

 Magalie A. Creecj
 Finkel Law Firm
 PO Box 1799
 Columbia, SC 29202

The United States Trustee’s Office was served electronically with this objection.



                                                        /s/ Suzanne Chisholm
                                                       Suzanne Chisholm
                                                       Campbell Law Firm, PA
                                                       Post Office Box 684
                                                       Mt. Pleasant, SC 29465
                                                       (843) 884-6874/ (843) 884-0997 fax

Mt. Pleasant, South Carolina
Dated: March 29, 2019
